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                                       MINUTES



 CASE NUMBER:             CRIMINAL NO. 17-00101 LEK
 CASE NAME:               USA vs. Anthony T. Williams
 ATTYS FOR PLA:           Kenneth M. Sorenson
                          Gregg Paris Yates
 ATTYS FOR DEFT:          Anthony T. Williams, Pro se
                          Lars R. Isaacson (stand-by counsel)


       JUDGE:      Leslie E. Kobayashi           REPORTER:         Debra Read

       DATE:       3/3/2020                      TIME:             11:15 AM - 11:30 AM
                                                                   03:00 PM - 03:25 PM

COURT ACTION: EP: Jury Deliberation Day 2 held.

12 Jurors reconvene at 8:30am to continue deliberation.

11:15 AM - 11:30 AM:
Court convenes regarding question #1 from the Jury:

Discussion held.

Proposed response language discussed. Defendant objections noted.

Court reads final response to be provided to the Jury.

Further jury deliberation continues.

Court notified at 2:35 PM that the Jury has reached a verdict.

3:00 PM - 3:25 PM

Defendant, (1) Anthony T. Williams present in custody

Jurors present and informs the Court they have reached a verdict, and that it is
unanimous.

Defendant (01) Anthony T. Williams, found guilty as to Counts 1-32 of the Superseding
Indictment.
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Jury polled.

Jury discharged.

Sentencing date for Defendant (01) Anthony T. Williams, set for 6/24/2020 at 3:15 PM
before Honorable Leslie E. Kobayashi.

Defendant (01) Anthony T. Williams renews Motion for Judgment of Acquital - Denied.

Government moves to detain defendant pending sentencing.
Court ORDERS defendant be DETAINED pending sentencing.

Defendant (01) Anthony T. Williams remanded to the Custody of the U.S. Marshal
Service.


Submitted by: Agalelei Elkington, Courtroom Manager
